Case 22-40352           Doc 17     Filed 05/13/22 Entered 05/13/22 09:54:43           Desc Main
                                     Document     Page 1 of 4


 DeMarco·Mitchell, PLLC
 1255 West 15th Street, Ste. 805
 Plano, TX 75075
 Telephone: 972-578-1400
 Facsimile: 972-346-6791


                             IN THE UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

 IN RE:
                                                       Case No.:    22-40352-R
 Leroy Williams
 xxx-xx-4909
 1630 Gladewater Dr.
 Allen, TX 75013-5354
                                                       Chapter 13
 Debtor


                             OBJECTION OF PATRICK SPENCER CHIU
                        TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN


 TO THE HONORABLE UNITED STATES BANKRUPTCY COURT:

         COMES NOW Patrick Spencer Chiu, creditor and Movant herein (hereinafter “Movant”),
 and objects to the confirmation of the Chapter 13 Plan proposed by the Debtor. In support of its
 objection, Movant would respectfully show the Court as follows:

                                                I.

         Debtor filed a voluntary Chapter 13 bankruptcy petition in this Court on March 21, 2022
 (the “Petition Date”).

                                                II.

         Movant is a creditor of the Debtor by virtue of a Texas Standard Residential Lease (the
 “Lease”) executed by the Debtor on or about April 26, 2021, by which the Debtor undertook to
 lease the residential real property located at 1630 Gladewater Drive, Allen, TX 75013 (the
 “Property”) from Movant. Per the terms of the Lease, the Debtor is obligated to remit monthly
 lease payments of $6,000.00 each to Movant, with the first such payment having become due
 on June 1, 2021 and the last such payment being due on or before May 31, 2024. Upon
 information and belief, the Debtor currently occupies the Property and utilizes it as his
 residence.

                                                III.

         Movant has defaulted on his obligations under the Lease. The Debtor’s monetary
 defaults have occurred both pre and post-petition. As of the Petition Date, Movant was owed
Case 22-40352       Doc 17      Filed 05/13/22 Entered 05/13/22 09:54:43                Desc Main
                                  Document     Page 2 of 4


 unpaid contractual rent charges and contractual late fees totaling $15,600.00. As of the date of
 the filing of this objection, Movant is owed at least $1,138.00 in post-petition contractual
 payments, late fees, and associated costs.

                                                 IV.

           Debtor’s proposed Chapter 13 plan of reorganization, filed herein on or about April 20,
 2022 [Docket #14] (the “Plan”), calls for the assumption of the Lease, but provides almost no
 information regarding the cure of arrearages. Premises considered, the Plan is not confirmable
 as it violates the following provisions of the Bankruptcy Code:

                                     A. 11 U.S.C. §1325(a)(1)

         The Plan fails to comply with the provisions of Chapter 13 and all other applicable
 provisions of the Bankruptcy Code. Specifically, the Plan fails to comply with the provision of 11
 U.S.C. §§ 365(b)(1), 1325(a)(3), 1325(a)(6), and 1325(a)(7), and is therefore not confirmable.

                                     B. 11 U.S.C. §§ 365(b)(1)

         Given the Debtor’s pre-petition monetary default, the Plan may not provide for the
 assumption of the Lease without also either a) providing for the cure of such default, or (b)
 providing adequate assurance of the prompt cure of such default in accordance with the
 provisions of 11 U.S.C. § 365(b)(1). As noted above, the Plan provides no specifics regarding
 arrearage cure and this fails to comply with the provisions of § 365(b)(1).

                                     C. 11 U.S.C. §1325(a)(3)

         The Plan fails to specifically address how the Debtor plans to cure, or provide adequate
 assurance of a prompt cure, of pre and post-petition payments which the Debtor has failed to
 remit to Movant under the Lease and has therefore not been filed in good faith.

                                     D. 11 U.S.C. §1325(a)(6)

          The Plan, as proposed, fails to comply with the provisions of 11 U.S.C. §1325(a)(6). The
 Plan is not feasible because, as noted above, it fails to address Movant’s arrearage claim in
 connection with the proposed assumption of the Lease Agreement. Additionally, as the Debtor
 has failed to comply with the provisions of Local Rule of Bankruptcy Procedure 2015(a), he has
 failed to demonstrate that he will be able to make all payments under the Plan as proposed.
 Debtor has likewise failed to demonstrate the feasibility of curing pre and post-petition
 arrearages owed to Movant under the Lease.

                                     E. 11 U.S.C. §1325(a)(7)

         Given the Debtor’s failure to acknowledge and comply with his obligations to Movant
 under section 365(b)(1) of the Bankruptcy Code, the Debtor’s act in filing his bankruptcy petition
 was not in good faith. Movant does not accept the Plan as currently proposed as the Plan fails
 to provide for the cure of pre and post-petition contractual lease arrearages, or adequate
 assurance of same.
Case 22-40352       Doc 17     Filed 05/13/22 Entered 05/13/22 09:54:43                 Desc Main
                                 Document     Page 3 of 4



        WHEREFORE, PREMISES CONSIDERED, Movant asks the Court to enter an order denying
 confirmation of the Debtor’s Chapter 13 plan, as currently proposed. Movant further prays for
 any other relief, general or special, at law or in equity, to which he may be justly entitled.



                                                Respectfully submitted,

 Dated: May 13, 2022                            /s/ Michael S. Mitchell
                                                DeMarco·Mitchell, PLLC
                                                Robert T. DeMarco, Texas Bar No. 24014543
                                                Email robert@demarcomitchell.com
                                                Michael S. Mitchell, Texas Bar No. 00788065
                                                Email mike@demarcomitchell.com
                                                1255 W. 15th Street, 805
                                                Plano, TX 75075
                                                T        972-578-1400
                                                F        972-346-6791
                                                Counsel for Movant

                                   CERTIFICATE OF SERVICE

        The undersigned counsel herby certifies that true and correct copies of the
 foregoing pleading and all attachments were served upon all parties listed below in
 accordance with applicable rules of bankruptcy procedure on this 13th day of May, 2022.
 Where possible, service was made electronically via the Court’s ECF noticing system.
 Where such electronic service was not possible, service was made via regular first class
 mail.

                                           DEBTOR
 Leroy Williams
 1630 Gladewater Dr
 Allen, TX 75013-5354

                                 COUNSEL FOR THE DEBTOR
 Nathanael Steven Graham
 Graham Legal, PLLC
 8501 Wade Blvd #340
 Frisco, TX 75034
 nathan@grahamlegalpllc.com

                                           TRUSTEES
  Carey D. Ebert                                Office of the U.S. Trustee
  Standing Chapter 13 Trustee                   110 N. College Ave., Suite 300
  P. O. Box 941166                              Tyler, TX 75702
  Plano, TX 75094-1166                          ustpregion06.ty.ecf@usdoj.gov
  ECFch13plano@ch13plano.com
Case 22-40352    Doc 17    Filed 05/13/22 Entered 05/13/22 09:54:43   Desc Main
                             Document     Page 4 of 4




       ADDITIONAL PARTIES IN INTEREST AND/OR PARTIES REQUESTING NOTICE
 PRA Receivables Management, LLC
 PO Box 41021
 Norfolk, VA 23541
 claims@recoverycorp.com


 /s/ Michael S. Mitchell
 DeMarcoˑMitchell, PLLC
 Robert T. DeMarco, Texas Bar No.
 24014543
 Email robert@demarcomitchell.com
 Michael S. Mitchell, Texas Bar No.
 00788065
 Email mike@demarcomitchell.com
 1255 W. 15th Street, 805
 Plano, TX 75075
 T        972-578-1400
 F        972-346-6791
